                                                                                                       FILED
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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION

GINA KAY RAY, KRISTY FUGATT,                       )
TIMOTHY FUGATT, and DEUANTE T.                     )
JEWS,                                              )
      Plaintiffs,                                  )
                                                              CIVIL ACTION NO.
                                                   )
                                                              2:12-cv-02819-RDP
v.                                                 )
                                                   )
JUDICIAL CORRECTION SERVICES,                      )
INC.; et al.                                       )
       Defendants


            MOTION TO COMPEL ADDITIONAL DEPOSITION TESTIMONY OF DON
                                   HOUSTON

             Defendant City of Childersburg (“Childersburg”) hereby moves to compel further

deposition testimony of Mr. Don Houston and such other relief the court deems appropriate. The

request relates to the Counsel for Correctional Healthcare (“CHC”) and Correctional Care

Solutions’ (“CCS”) peculiar and unwarranted direction to its corporate representative, Mr. Don

Houston, not to answer a question based on an “asked and answered” objection. Childersburg

attempted, without success, to resolve this dispute with CHC and CCS without seeking

assistance of the court. Childersburg now requests the court to compel a second deposition

pursuant to Federal Rule of Civil Procedure 37(a)(3)(B)(i).

                                       Summary of Argument


              CHC and CCS have maintained that they do not “control” Judicial Correction Services

(“JCS”). One of the key indicators of “control” is the ability to direct, interrupt and/or evaluate

compensation, especially if such compensation is performance related. During the September 16,

2016 deposition of Mr. Houston, he was asked if in December of 2012 he was attempting to have

the CEO of CHC intervene to revisit whether JCS executives merited a “bonus” even though


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those JCS executives missed budget projections as to revenue. In defiance of FRCP 30(c)(2),

counsel for CHC/CCS directed Mr. Houston not to answer this question based on an “asked and

answered” objection. Such a directive was improper on this highly germane issue. This

unwarranted instruction not to answer is only the latest episode in CHC/CCS pattern of

unreasonable discovery obstruction.


                                               Procedural History


            After what appears to have been considerable difficulty, plaintiffs arranged for the FRCP

30(b)(6) deposition of CHC and CCS. Doc. 305, p. 4. Childersburg issued its own 30(b)(6)

notice and identified topics relating to CHC and CCS’s control and involvement in the

management of JCS as topics. Doc. 409, p. 1. CHC and CCS objected based on a variety of

defenses. Id. The Court’s resolution was to allow Childersburg to follow up on any areas the

plaintiffs raised during the depositions of CHC and CCS. Doc. 418.


                                           Relevant Factual History


            Throughout this litigation, CHC and CCS have maintained they do not “control” JCS.

The parties have made representations to this court, both in writing and orally, to that effect.

CHC and CCS’s August 17, 2015 Motion to Dismiss focuses on the argument that CCS/CHC do

not control JCS. 1 Further, CHC and CCS wrote in their Motion to Dismiss that it is inaccurate

and “patently false” to lump CHC and CCS with JCS. Doc. 265, pp. 8–9. Later, the companies

also stated. “CHC Companies, Inc. and Correct Care Solutions, LLC both contest whether they

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  In fact, the motion asserts that the plaintiffs are attempting to present an “alter ego” theory. Doc. 265, pp. 5–6. It
lists the elements of the alter ego theory of veil piercing, mostly centered on the parent company’s control and
misuse of the subsidiary. Doc. 265, p. 8. The parties go on to argue that this veil piercing theory “is not and cannot
be supported by the facts.” Doc. 265, p. 10. In essence, the crux of the motion to dismiss rested on the fact that CHC
and CCS do not control JCS.



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‘control’ Judicial Correctional Services, Inc. and Correctional Healthcare Companies, Inc.” Doc.

271, p. 2. Likewise, CHC and CCS’s counsel have stated directly to the court during a hearing

that they disagree that CHC and/or CCS “controls” JCS. See Dec. 29, 2015 Transcript, p.31 lines

2–3 (Plaintiffs’ counsel states: “[I]t would be impossible for the Court to draft or craft an

injunction order against an entity that is not controlling itself.” Response of CHC/CCS counsel:

“I disagree with the characterization of who owns whom and who controls whom.”).


            During the deposition of Mr. Houston, the current division president for state and federal

for CCS, Plaintiffs’ counsel introduced Plaintiffs’ Exhibit 297, a December 13, 2012 e-mail 2

from Mr. Houston to Mr. Doug Goetz. At the time (2012), Mr. Houston was Chief Operating

Officer of CHC Companies, Inc. and Mr. Goetz was the President of CHC Companies, LLC, the

CEO of Correctional Healthcare Companies, LLC, and the immediate past CEO and CFO of JCS

LLC. Exhibit A, JCS LLC 2012 Georgia Annual Report. In this email, Mr. Houston was

expressing his “frustrations” with the work load the Human Resources department was handling

related to JCS. Relevant Excerpts of Deposition of Don Houston, Exhibit B, p. 97. Mr. Houston

also questioned how a poorly performing CHC “division” merited “raises” for its management.

Exhibit B, p. 97.

            During Counsel for Childersburg’s opportunity to question the deponent about this email,

Mr. Houston repeatedly testified about his desire for greater visibility into JCS financial

operations, but Childersburg’s counsel wanted to know whether there was an additional motive

at work, that is, the motivation to have Mr. Goetz countermand these JCS raises. Exhibit B, pp.

213-215.        Counsel for City of Childersburg’s attempted to explore the additional motivation.




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    Like many of the documents produced by CHS/CCS, this exhibit is heavily redacted.



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However, as Mr. Houston was in the process of giving a response, Counsel for CHC/CCS

interrupted and instructed the witness not to respond:

            Mr. Tankersley: And so the question I’m asking you is the reason why you
            chose to put this in an email to Mr. Goetz is so that Mr. Goetz could intervene
            about the raises if he chose to do so?
            Mr. Finch: Objection –
            Mr. Houston: If he chose to.
            Mr. Finch: – asked and answered
            Mr. Tankersley: He can answer it again.
            Mr. Finch: No, he can’t answer it again.

Exhibit B, p. 215, lines 5–17 (The full text of this line of questioning is part of Exhibit B).

Efforts to elicit the testimony that Mr. Houston was plainly willing to give, that Mr. Goetz had

the power to intervene as to JCS raises, was repeatedly blocked by CHC/CCS counsel on an

“asked and answered” basis. Exhibit B, pp. 215-217. As is present throughout his testimony, Mr.

Houston avoided answering the question asked. When Counsel for Childersburg rephrased his

question to clarify the information sought, Counsel for CHC/CCS improperly instructed the

witness not to respond.


    The Instruction Not to Respond is Proper Only In Narrow Circumstances Not Present
                      Here; Thus, Counsel’s Instruction was Wrongful

            Gone are the days when counsel could use obstruction to thwart testimony. Federal Rule

of Civil Procedure 30(c)(2) requires deposition testimony to continue despite objections. Indeed,

the Rule only allows an instruction not to answer under the narrowest of circumstances: when

“necessary to preserve a privilege, to enforce a limitation ordered by the court, or to present a

motion under Rule 30(d)(3).” Fed. R. Civ. Pro. 30(c)(2); see also Isaac v. RMB Inc., 604 F.

App’x 818, 821 (11th Cir. 2015) (upholding the district court’s requirement for a party–deponent

to attend a second deposition and pay the costs of filing the motion to compel where the

deponent refused to answer questions). The advisory committee’s notes state that “[d]irections



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to a deponent not to answer a question can be even more disruptive than objections. Fed. R. Civ.

P.. 30, advisory committee notes (1993 amendments, subdivision (d)). The 2000 Amendment

notes broadened the rule; not only was a “party” prohibited from instructing a witness to

respond, but any “person.” Fed. R. Civ. Pro. 30, advisory committee notes (2000 amendments,

subdivision (d)). The policy behind the rule is in keeping with the general purpose of finding out

“what a witness saw, heard, or did—what the witness thinks.” Hall v. Clifton Precision, a Div. of

Litton Sys., Inc., 150 F.R.D. 525, 528 (E.D. Pa. 1993) (discussing the impropriety of off–the–

record witness coaching). Depositions are intended to be “question–and–answer sessions

between a lawyer and a witness aimed at uncovering the facts in a lawsuit.” Id. at 531

(considering how lengthy objections during depositions impede the deposition and influence the

deponent’s answer). By instructing a witness not to answer, attorneys improperly obstruct access

to discoverable information. Security Nat. Bank of Sioux City, IA v. Day, 800 F.3d 936, 942 (8th

Cir. 2015) (“The advisory committee’s comments instruct that. . . directions to a deponent not to

answer improperly disrupt, prolong, and frustrate the deposition testimony.”).

            Counsel for CHC/CCS affirmed he knew this rule. (“I am acquainted with all of the

rules”) Exhibit B, pg. 216 lines 5–6. At no time did counsel for CHC/CCS seek a protective

order as Rule 30(c)(2) directs. No privilege was invoked or implicated that would justify such a

directive not to answer. No limiting order of this court was identified that merited this peculiar

and unwarranted instruction not to answer a question on a key issue in the case. To the extent

counsel gives an explanation for directing the deponent not to answer, he says the question was

either previously answered or “badgered” the witness, which are improper justifications for

instructing a witness not to answer during a deposition. 3 2016 CHC/CCS Letter, Exhibit C.


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 In considering the issue of “badgering,” the Southern District of New York recently decided that instructing a
witness not to answer even highly offensive questions is improper during a deposition. Kennedy v. City of New York,


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Childersburg did not receive an answer to a question that probed into highly relevant

information. Counsel for CHC and CCS improperly instructed its witness not to answer the

question, in violation of Rule 30(c)(2). For that reason, the court should compel another

deposition of Mr. Houston so Childersburg may complete its discovery.


                      Effort to Resolve this Dispute without Court Involvement


            As FRCP 37 directs, counsel for Childersburg attempted to resolve this dispute without

court involvement. Although follow up questions and answers would have been much preferred,

Childersburg was willing to resolve this with Mr. Houston simply finishing the sentence that

CHC/CCS counsel refused to permit. Counsel for Childersburg proposed Mr. Houston answer

the question: “If he chose to, yes.” Sept. 22, 2016 Childersburg Letter, Exhibit D. Counsel for

CHC/CCS refused this resolution and instead offered: “If he chose to, no.” Exhibit C. Such a

bizarre answer not only completely contradicts the beginning of the deponent’s response, it also

merits many follow-up questions. 4 Indeed, this proposed “no” answer from CHC/CCS Counsel

in its response to a Rule 37 answer is precisely the kind of “massaging“ of facts Rule 30(c)(2)

was intended to prohibit.


                                             Relief Requested

            Federal Rule of Civil Procedure 37(a)(3)(B)(i) allows a party to move for an order

compelling discovery when a deponent fails to answer a question asked under Rule 30 or 31.

Childersburg was entitled to a deposition under Rule 30(b)(6), and Counsel for CCS and CHC


No. 12 Civ. 4166 (KPF), 2016 U.S. Dist. LEXIS 80265 (S.D.N.Y. June 20, 2016) (“Counsel’s direction that Officer
Noto not answer questions regarding Nazi Germany, while entirely understandable, should have been made in
conjunction with an application under Rule 30(d) to terminate or limit the deposition. . .”)
4
  Counsel for CHC/CCs also invoked the tolling agreement that this court has already rejected as a basis for
restricting Childersburg questions on areas opened by plaintiff. Exhibit C.



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improperly directed its witness not to answer a question. Further, pursuant to Federal Rule of

Civil Procedure 37(a)(5)(A), if a motion to compel is granted, the court must require the party

whose conduct necessitated the motion to pay the movant’s expenses in creating the motion.

According to those rules, Childersburg seeks the following relief:

            1.   An order compelling Mr. Houston to appear in Birmingham within two weeks to

                 stand for a deposition in the law offices of counsel for Childersburg.


            2.   An order directing CHC to pay all costs associated with the advancing of this

                 motion as well as for the re-deposition of Mr. Houston.


            3.   All such other relief the court deems appropriate.




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            Respectfully submitted this 6th day of October, 2016.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this the 6th day of October, 2016, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
such filing to the following:

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